             Case 2:12-cv-01282-JLR Document 740 Filed 04/26/23 Page 1 of 4



 1                                                                            Honorable James L. Robart

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 7                            UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
     UNITED STATES OF AMERICA,                           2:12-cv-01282-JLR
 9
                             Plaintiff,                  DECLARATION OF NATHANIEL FLACK
10                                                       IN SUPPORT OF BRIEF OF AMICUS
                   v.                                    CURIAE ANTHONY SIMS
11
     CITY OF SEATTLE,
12
                             Defendant.
13

14
           I, Nathaniel Flack, declare:
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           1. I am an attorney licensed to practice law in the State of Washington. I represent the
16
               Plaintiff Anthony Sims in the case of Sims v. City of Seattle et al, Case No. 2:22-CV-
17
               00483-TL, pending before the Honorable Tana Lin, and in his Motion for Leave to
18
               File Brief of Amicus Curiae in United States of America v. City of Seattle, 2:12-cv-
19
               01282-JLR. I am over the age of 18 and am competent to testify. I have personal
20
               knowledge of the following.
21
           2. Attached here as Exhibit 1 is Robert Brown’s in-vehicle camera video footage from
22
               this case, produced in discovery as CITY_000675. A notice of filing physical
23
               materials is being filed for this exhibit pursuant to the local rules.
24
           3. Attached here as Exhibit 2 is Robert Brown’s body worn camera video footage from
25
               this case, produced in discovery as CITY_000668. A notice of filing physical
26
               materials is being filed for this exhibit pursuant to the local rules.
27

     DECLARATION OF NATHANIEL FLACK IN SUPPORT OF BRIEF
     OF AMICUS CURIAE ANTHONY SIMS - 1                                          MACDONALD HOAGUE & BAYLESS
                                                                                  705 Second Avenue, Suite 1500
                                                                                     Seattle, Washington 98104
     No. 2:12-cv-01282-JLR                                                      Tel 206.622.1604 Fax 206.343.3961
             Case 2:12-cv-01282-JLR Document 740 Filed 04/26/23 Page 2 of 4



 1         4. Attached here as Exhibit 3 is Gregory Nash’s body worn camera video footage from

 2             this case, produced in discovery as CITY_000672. A notice of filing physical

 3             materials is being filed for this exhibit pursuant to the local rules.

 4         5. Attached here as Exhibit 4 is Officer Farkas’s body worn camera video footage from

 5             the chis case, produced in discovery as CITY-000674. A notice of filing physical

 6             materials is being filed for this exhibit pursuant to the local rules.

 7         6. Attached here as Exhibit 5 is the radio communications audio for this case produced

 8             in discovery as CITY_000655. A notice of filing physical materials is being filed for

 9             this exhibit pursuant to the local rules.

10         7. Attached here as Exhibit 6 is the Field Contact Report that Lt. Brown prepared

11             during this incident, produced in discovery as CITY_000010.

12         8. Attached here as Exhibit 7 is the CAD dispatch log for this case, produced in

13             discovery as CITY_000001.

14         9. Attached here as Exhibit 8 are the High Risk Vehicle Stop training materials

15             produced in discovery as CITY_000761.

16         10. Attached here as Exhibit 9 is plaintiff’s complaint to OPA, produced in discovery as

17             CITY_000687.

18         11. Attached here as Exhibit 10 is the OPA Director’s Certification Memo for Plaintiff’s

19             OPA complaint.

20         12. Attached here as Exhibit 11 is the OPA investigation summary and conclusions.

21         13. Attached here as Exhibit 12 is the management action recommendation regarding

22             high risk stops.

23         14. Attached here as Exhibit 13 is SPD’s response to the management action

24             recommendation.

25         15. Attached here as Exhibit 14 is a September 2020 email exchange among City

26             employees regarding Plaintiff’s complaint.

27

     DECLARATION OF NATHANIEL FLACK IN SUPPORT OF BRIEF
     OF AMICUS CURIAE ANTHONY SIMS - 2                                          MACDONALD HOAGUE & BAYLESS
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                                                                                     Seattle, Washington 98104
     No. 2:12-cv-01282-JLR                                                      Tel 206.622.1604 Fax 206.343.3961
              Case 2:12-cv-01282-JLR Document 740 Filed 04/26/23 Page 3 of 4



 1          16. Attached here as Exhibit 15 is the OPA director’s certification memo for Plaintiff’s

 2              OPA complaint.

 3          17. Attached here as Exhibit 16 is the MDT return document produced in discovery as

 4              CITY_029693.

 5          18. Attached here as Exhibit 17 is the notice of FRCP 30(b)(6) deposition issued in the

 6              above captioned matter.

 7          19. Attached here as Exhibit 18 are excerpts of the transcript of the deposition of Robert

 8              Brown in Sims v. City of Seattle et al, Case No. 2:22-CV-00483-TL.

 9          20. Attached here as Exhibit 19 are excerpts of the transcript of the deposition of

10              Gregory Nash in Sims v. City of Seattle et al, Case No. 2:22-CV-00483-TL.

11          21. Attached here as Exhibit 20 are excerpts of the transcript of the deposition of Bradley

12              Richardson in Sims v. City of Seattle et al, Case No. 2:22-CV-00483-TL.

13          22. Attached here as Exhibit 21 are excerpts of the transcript of the deposition of the

14              City’s 30(b)(6) designee Leroy Outlaw.

15          23. Attached here as Exhibit 22 are excerpts of the transcript of the deposition of the

16              City’s 30(b)(6) designee Andrew Myerberg.

17          24. Attached here as Exhibit 23 are excerpts of the transcript of the deposition of the

18              City’s 30(b)(6) designee George Davisson.

19          25. Attached here as Exhibit 24 are excerpts of the transcript of the deposition of Scott

20              Mourtgos.

21          26. Attached here as Exhibit 25 is Officer Garrett Follette’s body worn camera footage,

22              produced in discovery as CITY_000671. A notice of filing physical materials is being

23              filed for this exhibit pursuant to the local rules.

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      DECLARATION OF NATHANIEL FLACK IN SUPPORT OF BRIEF
      OF AMICUS CURIAE ANTHONY SIMS - 3                                       MACDONALD HOAGUE & BAYLESS
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              Case 2:12-cv-01282-JLR Document 740 Filed 04/26/23 Page 4 of 4



 1   I swear that the foregoing is true to the best of my knowledge under penalty of perjury under the

 2   laws of the United States.

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            DATED this 26th day of April, 2023, at Seattle, WA.
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 5                                                       /s/ Nathaniel Flack
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